Case 25-16137-MBK                Doc 293-1 Filed 07/08/25 Entered 07/08/25 21:19:02                           Desc
                                   Certificate of Service Page 1 of 3




    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    LLC
    In re:                                                             Chapter 11

    POWIN, LLC, et al.,1                                               Case No. 25-16137 (MBK)

                                      Debtors.                         (Jointly Administered)




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: (i) Powin Project LLC [1583]; (ii) Powin, LLC [0504]; (iii) PEOS Holdings, LLC [5476]; (iv) Powin
    China Holdings 1, LLC [1422]; (v) Powin China Holdings 2, LLC [9713]; (vi) Charger Holdings, LLC [5241];
    (vii) Powin Energy Ontario Storage, LLC [8348]; (viii) Powin Energy Operating Holdings, LLC [2495]; and
    (ix) Powin Energy Operating, LLC [6487]. The Debtors’ mailing address is 20550 SW 115th Avenue Tualatin, OR
    97062.
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    In re:                                                             Chapter 11

    POWIN, LLC, et al.,1                                               Case No. 25-16137 (MBK)

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                                      CERTIFICATION OF SERVICE


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       I hereby certify that on July 8, 2025, I did cause the foregoing Limited Objection of Key

Capture Energy, LLC, KCE NY 3, LLC, KCE TX 2, LLC, KCE TX 7, LLC, KCE TX 8, LLC to the

Omnibus Motion of the Debtors for Entry of an Order (I) Authorizing the Rejection of Legacy

Customer Contracts and (II) Granting Related Relief to be filed using the Court’s CM/ECF system,

which will automatically send email notification to all parties and counsel of record.

                                             SAUL EWING LLP

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